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              United States Court of Appeals
                            For the First Circuit


 No. 20-1208

   BRITTANY IRISH, individually and as Personal Representative of
             the Estate of Kyle Hewitt; KIMBERLY IRISH,

                           Plaintiffs, Appellants,

                                        v.

  DETECTIVE JASON FOWLER; DETECTIVE MICAH PERKINS; SERGEANT DARRIN
                               CRANE,

                            Defendants, Appellees,

                                        and

  STATE OF MAINE; STATE POLICE OF THE STATE OF MAINE; JOHN DARCY;
                          ANDREW LEVESQUE,

                                   Defendants.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE

           [Hon. John A. Woodcock, Jr., U.S. District Judge]


                                      Before

                          Lynch, Selya, and Barron,
                               Circuit Judges.


      Scott J. Lynch, with whom Lynch & Van Dyke, P.A. was on brief,
 for appellants.
      Christopher C. Taub, Assistant Attorney General, with whom
 Aaron M. Frey, Attorney General, was on brief, for appellees.
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                                November 5, 2020
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              LYNCH, Circuit Judge.        In this opinion, we hold on these

 facts that a viable substantive due process state-created danger

 claim has been presented against two Maine State Police ("MSP")

 officers, and that it was error to grant the officers qualified

 immunity.     Under the state-created danger substantive due process

 doctrine, officers may be held liable for failing to protect

 plaintiffs from danger created or enhanced by their affirmative

 acts.    In doing so, we for the first time join nine other circuits

 in holding such a theory of substantive due process liability is

 viable.

              This § 1983 action arises out of the attacks, murder,

 and rapes committed in July 2015 by Anthony Lord against appellants

 Brittany Irish ("Irish") and those close to her.                 After actions

 and inactions by the defendant officers, Lord murdered Irish's

 boyfriend Kyle Hewitt, shot Irish's mother Kimberly Irish, and

 then kidnapped Brittany Irish for about nine hours and raped her.

              The suit asserts that Lord's rampage was triggered by a

 voicemail left on Lord's cellphone by defendant MSP Detectives

 Micah Perkins and Jason Fowler, the officers investigating Irish's

 criminal complaint that Lord had abducted, threatened, and raped

 her two days earlier.             Before the detectives checked Lord's

 criminal    record    or   made   any    effort   to   find   Lord   in   person,

 Detective Perkins left a voicemail identifying himself as a state

 police officer and asking Lord to call him back.


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              The plaintiffs seek relief based on the state-created

 danger doctrine.       The plaintiffs argue that the detectives created

 and enhanced the danger to them and then failed to protect them in

 the face of Lord's escalating threats.

              This court had earlier vacated the dismissal of these

 claims for failure to state a claim.              Irish v. Maine, 849 F.3d

 521, 523 (1st Cir. 2017) ("Irish I").                 After remand and the

 completion of extensive pretrial discovery, the defendants moved

 for summary judgment and the district court held that a jury could

 find    that   the    defendant     officers    violated     the   plaintiffs'

 constitutional rights.        Irish v. Fowler, 436 F. Supp. 3d 362, 364

 (D. Me. 2020).       It granted summary judgment to the officers on the

 grounds of qualified immunity.             Id. We describe the district

 court's rulings later.

              We affirm the district court's holding that a jury could

 find that the officers violated the plaintiffs' substantive due

 process rights.         We reverse the grant of defendants' summary

 judgment motion on qualified immunity grounds.

                            I. Statement of Facts

              On defendants' motion for summary judgment, we read the

 facts in the light most favorable to the plaintiff.                  Stamps v.

 Town of Framingham, 813 F.3d 27, 30 (1st Cir. 2016).

              We supplement our description of the facts in Irish I

 with the district court's comprehensive statement of the facts.


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                 The Events Underlying Plaintiffs' Claims

              At approximately 11:13 AM on July 15, 2015, Britany Irish

 reported to the Bangor Police Department that Anthony Lord, a

 former lover, had kidnapped and raped her repeatedly on the night

 of July 14, including at two vacant camps near Benedicta, Maine.

 The Bangor Police Department referred her to the MSP. MSP Sergeant

 Darrin Crane assigned Detectives Perkins and Fowler to the case

 and told the detectives that Lord was a registered sex offender.

 Around 2:00 PM, Sergeant Crane forwarded the detectives a copy of

 Brittany Irish's statement to the Bangor Police Department.                  The

 statement said that Lord had threated to "cut her from ear to ear."

              Brittany Irish met with the detectives at 3:05 PM and

 again at 4:34 PM. At the 3:05 meeting, she told the detectives

 that she was "scared that Anthony Lord would become terribly

 violent if he knew [Irish] went to the police."                The detectives

 told    Irish    that    because    of    Lord's   repeated    threats,     they

 "recommended not letting [Lord] know . . . reports had been made

 [to the police]." Indeed, they instructed her to "continue talking

 to [Lord] as if nothing happened" until the detectives could get

 Lord's statement. Irish also told the detectives that she had moved

 her children to Hewitt's mother's house in Caribou, Maine, for

 their    safety.        That   evening,   the   detectives    found    evidence

 corroborating Irish's allegations against Lord at one of the vacant

 camps near Benedicta.


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              On July 16, Irish made a second written statement to the

 detectives which said that Lord had threated to "cut [her] from

 ear to ear," to abduct Irish's children, to abduct and "torture"

 Hewitt to find out "the truth" about what was happening between

 Irish and Hewitt, to kill Hewitt if Hewitt was romantically

 involved with Irish, and to weigh down and throw Irish into a lake.

              Despite these repeated death and other threats and their

 knowledge that Lord was a registered sex offender, the defendants

 did not, as was customary, check the sex offender registry to find

 Lord's address or run a criminal background check. Such searches

 would have revealed that he was on probation and had an extensive

 record of sexual and domestic violence.                The detectives did not

 contact    Lord's    probation    officer      at    this   time   or   request   a

 probation hold, which could have been used to detain Lord and is

 simpler to obtain than an arrest warrant.

              Her    written     statement       in    hand,    the      detectives

 interviewed     Irish   again    on    July    16.     Despite     their   earlier

 statement to her, they told her that they planned to call Lord to

 get his statement. At 6:17 PM on July 16, Detective Perkins called

 Lord while Detective Fowler listened.1               When Lord did not answer,

 Detective Perkins did not hang up.              Rather, he left a voicemail

 for Lord on his cellphone.            In that voicemail, Detective Perkins


       1   At no point has the defense tried to distinguish between
 the two officers as to plaintiffs' claims.


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 identified himself as a state police detective and asked Lord to

 return his call.      Detective Perkins did not ask Lord to come meet

 with him.      At that point, the defendants had made no effort to

 locate Lord, much less to apprehend him.                   Detective Perkins

 admitted that, if Lord had committed the original assault against

 Irish, it would be "logical" that Lord would determine that the

 phone call was related to the rape and kidnapping of Brittany

 Irish.

              At 8:05 PM on July 16 -- about an hour and forty-five

 minutes after he had left the voicemail -- Detective Perkins

 received notice of a "possible suspicious" fire in Benedicta, the

 town where the detectives had found evidence that Lord had raped

 Irish at a vacant camp.       Believing that Lord may have set the fire,

 the detectives drove to the site of the fire.            At 9:24 PM, Brittany

 Irish called the detectives and told them it was her parents' barn,

 roughly fifteen feet from their home, which was on fire.                   Irish

 also told the detectives that someone had heard Lord say as he

 left his uncle's house (in Crystal, Maine) earlier that evening

 that "I am going to kill a fucker."              Irish told the detectives

 that she was afraid for her children's safety, planned to stay at

 her mother's home in Benedicta, and would meet the detectives

 there.

              The detectives first began the search for Lord at 10:05

 PM, almost four hours after leaving the voicemail.               They arranged


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 a state-wide teletype for a "stop and hold" of Lord.                      Detective

 Perkins added a "use caution" warning to the teletype, which warned

 officers that Lord could be dangerous and to take precautions.

                Sergeant Crane joined the search at about 10:00 PM.

 Around 10:35 PM, Sergeant Crane sent two MSP troopers to Lord's

 mother's house in Houlton, Maine, which is about forty miles from

 Benedicta.       Those officers did not call Lord's mother's house but

 chose to drive there. There is no evidence that these officers

 ever left Houlton or came to Benedicta to help look for Lord.

                The defendant detectives arrived at the scene of the

 barn fire around 10:36 PM.            Detective Perkins requested a K-9 unit

 to be dispatched to the scene.

                Shortly thereafter, Irish received a phone call from her

 brother, who told her that Lord, upon receiving the voicemail, was

 irate    and    said   that        "someone's     gonna   die     tonight."     Irish

 immediately told the detectives about this death threat and asked

 for protection.             The officers left the scene and no officer

 remained to protect her and the others.

                At 11:38 PM, the detectives finally requested a criminal

 background check and learned Lord's criminal record.

                At   11:49    PM,    the   detectives      first    contacted   Lord's

 probation officer, who attempted to reach Lord and told the

 detectives that Lord's last known residence was at his uncle's

 property in Crystal, Maine.


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              Around   midnight,     Brittany    Irish   contacted     Detective

 Perkins and asked again for an officer to come to her mother's

 residence.      Detective Perkins understood that she wished for an

 officer to protect her and her family in the event that Lord

 returned to her mother's house.           Detective Perkins did not relay

 the request to his superior at this time, and no officers were

 sent there.

              Instead, at 12:30 AM on July 17, four officers, including

 Crane, Fowler, and Perkins, went to Lord's uncle's house in

 Crystal, Maine, about twenty miles from Benedicta, to look for

 Lord.    They did so despite having been told that Lord had left his

 uncle's house earlier that evening and their suspicions Lord had

 set the fire in Benedicta.         No explanation was given for why they

 did not call the uncle to see if Lord was there.

              At about 1:00 AM, Crane, Fowler, and Perkins met in a

 parking lot in Crystal, where Detective Perkins finally told

 Sergeant Crane about Irish's request for protection.                   Sergeant

 Crane told the detectives he would not provide protection to the

 plaintiffs     because    they   did    not    have   "the   manpower."      The

 detectives did not tell Irish about this decision until an hour

 later. They had three hours earlier, however, alerted all officers

 to the fact that Lord was considered dangerous.              At about the same

 time as this parking lot meeting, Detective Perkins requested that

 the Bangor Police Department send an officer to Acadia Hospital in


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  Bangor to look for Lord. The request was not that the officer

  simply call the hospital to find out if Lord was there.                There is

  no evidence as to whether the state police could have requested

  the Bangor police to provide protection to Irish.

              Around 2:00 AM, not having received any response to her

  request for protection, Irish again called Detective Perkins.

  Detective Perkins, for the first time, told her that his supervisor

  had denied the request an hour earlier.            He said the police would

  continue looking for Lord.

              Also around 2:00 AM,        Detectives Perkins and Fowler met

  Detective Jonah O’Rourke and Detective Trooper Corey Hafford at a

  gas station in Sherman, Maine, about ten miles from the Irish home,

  to search the dumpster for evidence of the original rape.                Not one

  of these four officers was sent to protect Irish at her mother's

  home.

              Around     2:30   AM,    Sergeant     Crane    went    home.       An

  investigator from the fire marshal's office remained near the scene

  of the fire until approximately 2:30 or 3:00 AM.             The officers who

  were searching near the Sherman gas station left the area around

  3:00 AM.    Also around 3:00 AM, the detectives left the area.

              Sergeant Crane admitted that he did not believe there

  were any state police resources in the area between 3:00 and                4:00

  AM.   No one told the plaintiffs that the detectives, let alone all

  police units, had left the area.


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              Around 3:00 or 4:00 AM, Kimberly Irish, Brittany Irish's

  mother, contacted the MSP through their "800 number." She said

  that she would like to come with Brittany and Hewitt in her car to

  the MSP parking lot to remain there overnight for protection.                  An

  unidentified MSP employee advised her not to come to the station,

  that leaving her house "would be a dangerous mistake," and that

  the MSP had "officers in the vicinity" who could respond quickly

  to   any   problems    that   arose.      A   jury   could   find   that   these

  statements were not true, and that each piece of that advice was

  relied on by the plaintiffs and increased the risk to them.

  Kimberly Irish never saw any police presence near her residence,

  despite keeping watch through the night.

              Between 4:00 and 4:40 AM on July 17, Kary Mayo, a

  resident of Silver Ridge, Maine, reported that someone had attacked

  him with a hammer and stolen his truck and guns just six miles

  (and twelve minutes) from the Irish home.               An officer responded

  out of Houlton.       The state police did not notify the plaintiffs of

  that nearby attack (which was committed by Lord).

              Within about an hour, Lord drove Mayo's truck to the

  Irish home.     Lord fired one round with Mayo's shotgun at the front

  door to break the lock, which hit Brittany Irish in the arm.                  The

  door remained locked, so Lord kicked down the door. Lord entered

  the house, saw Hewitt on the couch, and shot Hewitt nine times

  while Brittany Irish watched.          Brittany ran from the room and into


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  the bathroom to hide.          Kimberly Irish had already been in the

  bathroom brushing her teeth.            They unsuccessfully attempted to

  lock the door.       With the help of her mother, Brittany Irish had

  climbed partway through the bathroom window to escape when Lord

  came through the bathroom door. Kimberly Irish pushed Brittany the

  rest of the way through the bathroom window, and Brittany started

  running. Lord fired twice as Brittany was escaping and struck

  Kimberly in the arm.

               Moments later, Brittany Irish was able to jump into the

  truck of Carleton Eddy, a passing motorist.            Lord saw her get into

  the truck and managed to jump into the bed of the truck as Eddy

  began to pull away.         From the bed of the truck, Lord shot Eddy

  three times in the neck and then pulled Brittany out of the truck

  and took her back to the pickup truck he had stolen from Mayo.

  They drove away. The police did not free Irish or apprehend Lord

  until around 2:00 PM on July 17, about nine hours after the

  shooting.2


        2   The police first found Lord and Irish at 5:41 AM, but
  Lord escaped by repeatedly shooting at the pursuing officers,
  threatening to kill Brittany if the police did not back off, and
  driving onto an "impassable" road.
            Around 6:20 AM, Lord and Irish arrived at a woodlot in
  Lee, Maine. Lord and Irish encountered Kevin Tozier and Clayton
  McCarthy, and Lord asked them if he could borrow one of their
  cellphones. One of the men lent his cellphone to Lord. Tozier
  noticed Irish's wound and asked about it. Lord responded by fatally
  shooting Tozier in the chest several times. As McCarthy ran away,
  Lord shot him too.


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              Only after Lord's capture did the MSP post an officer at

  the Irish home. They did so for two days to protect the crime

  scene.

                   Evidence as to Proper Police Practices

              There is evidence that the detectives failed to follow

  proper MSP procedure and state law in several respects.

              The parties agree that the optimal time to contact an

  offender is at the end of an investigation, once all the facts are

  in order.    Specifically as to sexual assault charges, the Director

  of Training for the Maine Criminal Justice Academy, which trains

  MSP officers, testified that the reasonableness of an officer's

  response to a report of sexual assault depends on the severity of

  the underlying assault, whether the suspect has made threats

  against the victim, whether the suspect has been convicted of a

  felony, and whether the suspect has a violent history.

              The plaintiffs' expert, D.P. Van Blaricom, explained

  that there is a standard of care "that the first priority is the

  victim's safety and you would do nothing that would put her safety

  at risk."    He concluded that the defendants violated this standard


       Lord then stole a pulp truck, abandoned it in Haynesville,
  Maine, stole an ATV, and travelled with Irish to Weston, Maine.
  In Weston, he stole a Ford F-150 truck and drove to Houlton. At
  some point during this flight, Lord raped Irish again. The police
  finally apprehended Lord around 2:00 PM when his uncle reported
  that Lord was in Houlton.




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  of care in their investigation. In his expert report, Van Blaricom

  stated that "[a]fter a report of kidnapping and sexual assault,

  the first priority is to locate the suspect and take him into

  custody."     He testified that "if you're trying to safeguard the

  victim, you don't tip off the suspect when she's already said he'd

  threaten her," and         "contacting the suspect and leaving a phone

  message is the last thing I would consider doing." Instead, "[t]he

  suspect is typically the last to be interviewed," and "[w]anting

  to 'hear his side of the story' at the outset is fundamentally

  dysfunctional and a poor investigative practice."                In his expert

  opinion,     the   first     police    contact     with    Lord,    given     the

  circumstances, should have been an arrest.

              Van Blaricom also testified that "[t]he first thing you

  do when you've got a suspect is run a criminal history" because it

  is "absolutely fundamental . . . to know as much as you can about

  your suspect."       The defendants admit that a criminal background

  check is "fundamental" and is the first thing officers should do

  when they have identified a suspect.             The officers here did not

  perform a background check until after the barn fire. This was

  long after leaving a voicemail message asking Lord to contact the

  detectives.

              Officers of the MSP, including the defendant detectives,

  are trained on the proper response to domestic violence complaints

  as set forth in Maine statute, Me. Stat. tit. 19-A § 4012, and


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  MSP's "DV Policy M-4" ("M-4").             M-4 instructs that an officer "is

  to try to determine" whether the suspect has a history of domestic

  violence.      Maine law and Section E of M-4 both state that an

  "officer shall immediately use all reasonable means to prevent

  further abuse." Me. Stat. tit. 19-A, § 4012(6).                     This includes

  "[r]emaining on the scene [of a domestic violence incident for] as

  long as the officer reasonably believes there is a danger to the

  physical safety of that person without the presence of a law

  enforcement     officer."    Id.     §    4012(6)(A).   M-4   adds       that   "[i]n

  circumstances     in   which    it   is     necessary   for   a     DV   victim    to

  temporarily or permanently leave a location where he or she has

  been living, [an officer shall] assist[] the DV victim in locating

  lodging with family, friends, in public accommodations, or at a DV

  shelter/safe home."

                          II. District Court Opinion

              The district court concluded that the plaintiffs had

  presented triable issues of fact as to whether Detectives Fowler

  and Perkins had violated the plaintiffs' substantive due process

  rights    under   a    state-created       danger   theory    and    whether      the

  detectives' actions "shock[ed] the conscience."3                    Irish, 436 F.

  Supp. 3d at 423-24, 428.



        3   The district court also entered summary judgment in
  favor of Sergeant Darrin Crane, and plaintiffs do not appeal that
  portion of the district court order.


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               The   district   court    began   by   acknowledging     that    the

  plaintiffs have suffered constitutional deprivations of life and

  liberty.     Id. at 414.      In its grant of summary judgment on the

  ground of qualified immunity, the court used the Third Circuit

  state-created danger test laid out in Sanford v. Stiles, 456 F.3d

  298, 304-05 (3d Cir. 2006). Irish, 436 F. Supp. 3d at 413 n.148.

  The court made three essential holdings.            First, it held that the

  plaintiffs had presented sufficient evidence for a jury to find

  that the voicemail was an affirmative act that had enhanced the

  danger to the plaintiffs.           Id. at 415-16.         Next, because the

  detectives had time to make unhurried judgments, the plaintiffs

  needed to show that the defendants had acted with deliberate

  indifference to show conscience-shocking behavior.                 Id. at 418.

  Finally, the court determined that a reasonable jury could find

  that leaving the voicemail was "deliberately indifferent to the

  point of being conscience-shocking in light of the actions [the

  detectives] took before and after leaving a voicemail for Mr.

  Lord."     Id. at 419.

               As to qualified immunity, the court reasoned that the

  existence of the state-created danger doctrine was not clearly

  settled law in the First Circuit because this court had never found

  the theory applicable to the specific facts presented by the case

  before it. Id. at 425. Recognizing that a consensus of persuasive

  authority from other circuits was sufficient to clearly establish


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  the doctrine, it nevertheless declined to hold that the doctrine

  was clearly established. Id. at 426. That was because in its view,

  the Fifth and Eleventh Circuits had rejected the state-created

  danger theory, and it was "not within [the district court's]

  purview to select between the majority and minority rules" or

  "which among the majority formulations . . . [to] adopt."                 Id.

              The plaintiffs have appealed.             The defendant officers

  have not appealed.

           III. Contours of the State-Created Danger Doctrine

              We review a district court's grant of summary judgment

  de novo.    López-Santos v. Metro. Sec. Servs., 967 F.3d 7, 11 (1st

  Cir. 2020).       In doing so, we read the facts in the light most

  favorable to the non-moving party (here, the plaintiffs), granting

  all reasonable inferences in their favor.                 Id.

              The   Due   Process    Clause      of   the    Fourteenth   Amendment

  provides that "[n]o State shall . . . deprive any person of life,

  liberty, or property, without due process of law." U.S. Const.

  amend. XIV, § 1.     While the Supreme Court has said that in general,

  "a   State's   failure    to   protect    an    individual      against   private

  violence simply does not constitute a violation of the Due Process

  Clause," DeShaney v. Winnebago Cnty. Dep't of Soc. Servs., 489

  U.S. 189, 197 (1989), it has also suggested that when the state

  creates the danger to an individual, an affirmative duty to protect

  might arise. See id. at 201 ("While the State may have been aware


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  of the dangers that [the plaintiff] faced in the free world, it

  played no part in their creation, nor did it do anything to render

  him any more vulnerable to them.").

              Nine other circuits have since recognized the state-

  created danger doctrine.        See Okin v. Vill. of Cornwall-on-Hudson

  Police Dep’t, 577 F.3d 415, 428 (2d Cir. 2009); Sanford, 456 F.3d

  at 304-05; Doe v. Rosa, 795 F.3d 429, 439 (4th Cir. 2015); Jane

  Doe v. Jackson Loc. Sch. Dist. Bd. of Educ., 954 F.3d 925, 932

  (6th Cir. 2020); D.S. v. E. Porter Cnty. Sch. Corp., 799 F.3d 793,

  798 (7th Cir. 2015); Fields v. Abbott, 652 F.3d 886, 891 (8th Cir.

  2011); Kennedy v. City of Ridgefield, 439 F.3d 1055, 1066 (9th

  Cir. 2006); Estate of B.I.C. v. Gillen, 710 F.3d 1168, 1173 (10th

  Cir. 2013); Butera v. District of Columbia, 235 F.3d 637, 652 (D.C.

  Cir. 2001).

              The   circuits     that   recognize     the    doctrine    uniformly

  require    that   the   defendant     affirmatively       acted   to   create   or

  exacerbate a danger to a specific individual or class of people.

  See, e.g., Sanford, 456 F.3d at 304; Kennedy, 439 F.3d at 1061-

  64.    Each circuit requires that the defendant's acts be highly

  culpable and go beyond mere negligence.4             See, e.g., Butera, 235


        4   Most circuits require that the defendant's actions
  "shock the conscience." The Ninth Circuit does not use the phrase
  "shock the conscience" as it has opined that the phrase "sheds
  more heat than light on the thought process courts must undertake
  in cases of this kind."    Kennedy, 439 F.3d at 1064-65 (quoting
  L.W. v. Grubbs, 92 F.3d 894, 900 (9th Cir. 1996)). That court


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  F.3d at 651; see also Cnty. of Sacramento v. Lewis, 523 U.S. 833,

  847 (1998) ("[T]he substantive component of the Due Process Clause

  is violated by executive action only when it 'can properly be

  characterized      as   arbitrary,      or    conscience     shocking,     in   a

  constitutional      sense.'"    (quoting      Collins   v.   City    of   Harker

  Heights, 503 U.S. 115, 128 (1992))).           The plaintiff also must show

  a causal connection between the defendant's acts and the harm.

  See, e.g., Sanford, 456 F.3d at 304-05; Fields, 652 F.3d at 891.

              This circuit has repeatedly outlined the core elements

  of the state-created danger doctrine as they have been articulated

  in other circuits.        This court has stated that in order to be

  liable under the state-created danger doctrine, the defendant must

  "affirmatively act[] to increase the threat to an individual of

  third-party private harm." Coyne v. Cronin, 386 F.3d 280, 287 (1st

  Cir. 2004); see also Ramos-Piñero v. Puerto Rico, 453 F.3d 48, 55

  n.9 (1st Cir. 2006); Rivera v. Rhode Island, 402 F.3d 27, 37 (1st

  Cir. 2005).     A government official must actually have created or

  escalated the danger to the plaintiff and the plaintiff cannot

  have    "voluntarily assume[d] those risks." Vélez-Díaz v. Vega-

  Irizarry, 421 F.3d 71, 81 (1st Cir. 2005).              The danger cannot be




  requires that the defendant act with at least deliberate
  indifference to a "known or obvious danger." Id. at 1062, 1064-
  65.




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  "to the general public," it must be "specific" in some "meaningful

  sense" to the plaintiff.             Ramos-Piñero, 453 F.3d at 54.            The

  official's acts must cause the plaintiff's injury.                 Rivera, 402

  F.3d       at   37-38.       The   defendant's    actions   must    "shock    the

  conscience," and where a state actor had the "opportunity to

  reflect and make reasoned and rational decisions, deliberately

  indifferent behavior may suffice to 'shock the conscience.'"5 Id.

  at 35-36; see also Irish I, 849 F.3d at 526.                To show deliberate

  indifference, the plaintiff "must, at a bare minimum, demonstrate

  that [the defendant] actually knew of a substantial risk of serious

  harm . . . and disregarded that risk."              Coyne, 386 F.3d at 288.

  In     evaluating        whether   the    defendant's   actions    shocked    the

  conscience, we also consider whether the defendants violated state

  law or proper police procedures and training.                See Irish I, 849

  F.3d at 528; Marrero-Rodríguez v. Municipality of San Juan, 677

  F.3d 497, 500-02 (1st Cir. 2012).

                  Our decision in Rivera v. Rhode Island, which predates

  the defendant officers' conduct here, provided this circuit's most

  comprehensive exposition of the state-created danger doctrine and

  its elements. See 403 F.3d at 34-38.




         5  The defendants do not argue in their brief that the
  plaintiffs must show more than deliberate indifference to make
  their claim.


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               In Rivera, Charles Pona and his associates repeatedly

  threatened       to    kill   fifteen-year-old        Jennifer     Rivera    if    she

  testified at Pona's murder trial.               Id. at 31. She told the police

  about these threats many times, and they promised to protect her.

  Id. at 31-32.         An associate of Pona shot and killed Rivera the day

  before she was scheduled to testify.               Id. at 32.     Rivera's mother,

  Iris   Rivera,        brought   a   §    1983     claim    against   the     officers

  investigating the murder under the state-created danger doctrine.

  Id. at 33-35. This court reviewed the contours of the doctrine as

  described above, and then held that Iris Rivera had not made out

  a viable state-created danger claim against the defendant officers

  because    the    acts    taken     by   defendants       were   essential    to   the

  investigation and performed appropriately.                  Id. at 37.     This case

  presents different facts that require us to recognize the state-

  created danger doctrine and conclude that a reasonable jury could

  find that a claim has been validly presented on this evidence.

               We now state the necessary components for the viability

  of such a claim.        In order to make out a state-created danger claim

  in the First Circuit, the plaintiff must establish:

               (1) that a state actor or state actors affirmatively

               acted to create or enhance a danger to the plaintiff;

               (2) that the act or acts created or enhanced a danger

               specific to the plaintiff and distinct from the danger

               to the general public;


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              (3) that the act or acts caused the plaintiff's harm;

              and

              (4) that the state actor's conduct, when viewed in total,

              shocks the conscience.

                     (i) Where officials have the opportunity to make

                     unhurried judgments, deliberate indifference may

                     shock the conscience, particularly where the state

                     official performs multiple acts of indifference to

                     a rising risk of acute and severe danger.             To show

                     deliberate indifference, the plaintiff must, at a

                     bare   minimum,     demonstrate      that   the    defendant

                     actually knew of a substantial risk of serious harm

                     and disregarded that risk.

                     (ii) Where state actors must act in a matter of

                     seconds or minutes, a higher level of culpability

                     is required.

              We apply this test to the two issues before us.

                    IV. Substantive Due Process Violation

              We agree with and do not restate the district court's

  reasoning that a jury could find the plaintiffs' substantive due

  process rights were violated.

              The defendants argue, as though context does not matter,

  that Rivera established that the use of basic law enforcement

  investigative tools cannot ever serve as the affirmative act


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  underlying a state-created danger claim.              Rivera established no

  such thing; rather it held only that the use of law enforcement

  tools in that case did not provide an adequate basis for the state-

  created danger claim there. See id. at 37.                  That was because

  interviewing and subpoenaing Jennifer Rivera were both necessary

  steps of the investigation that could not reasonably be avoided

  and were performed appropriately. See id.             Here the claim is not

  that the defendants should not have contacted Lord at all, but

  that the manner in which the officers did so -- despite having

  been   warned    about   Lord's    threats    of   violence    and   their    own

  acknowledgement that contacting him would increase the risks to

  Irish and her family -- was wrongful.

              The defendants next argue that the officers' violations

  of state law and MSP policy cannot serve as the basis of a state-

  created danger claim.        That is not the plaintiffs' argument.            The

  plaintiffs' argument is that these violations are, at the very

  least, relevant to determining the conscience-shocking nature of

  the defendants' conduct and the qualified immunity inquiry.                   The

  plaintiffs' position is well based on our prior opinions of which

  the defendant officers had notice.            Those opinions are described

  below.

              The defendants also argue that no jury could find the

  officers' conduct shocked the conscience.            We rely on the district




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  court's reasoning as to why that argument fails.                 See Irish, 436

  F. Supp. 3d at 419-24.

                             V. Qualified Immunity

              Government officials sued in their individual capacities

  are immune from damages claims unless "(1) they violated a federal

  statutory or constitutional right, and (2) the unlawfulness of

  their conduct was 'clearly established at the time.'" District of

  Columbia v. Wesby, 138 S. Ct. 577, 589 (2018) (quoting Reichle v.

  Howards, 566 U.S. 658, 664 (2012)). The defendants' argument turns

  on the clearly established prong.

              The   test    to   determine    whether    a   right    is   clearly

  established asks whether the precedent is "clear enough that every

  reasonable official would interpret it to establish the particular

  rule the plaintiff seeks to apply" and whether "[t]he rule's

  contours [were] so well defined that it is clear to a reasonable

  officer    that   his    conduct    was   unlawful    in   the    situation    he

  confronted."      Id. at 590 (internal quotation marks and citations

  omitted).

              A rule is clearly established either when it is "dictated

  by 'controlling authority' or 'a robust "consensus of cases of

  persuasive authority."'" Id. at 589-90 (quoting Ashcroft v. al-

  Kidd, 563 U.S. 731, 741-42 (2011)).           A "robust consensus" does not

  require the express agreement of every circuit.                  Rather, sister

  circuit law is sufficient to clearly establish a proposition of


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  law when it would provide notice to every reasonable officer that

  his conduct was unlawful.        See Wilson v. Layne, 526 U.S. 603, 616-

  18 (1999); Wesby, 138 S. Ct. at 589-90.

               "[T]he salient question . . . is whether the state of

  the law [at the time of the defendants' conduct] gave [them] fair

  warning that their alleged treatment of [the plaintiffs] was

  unconstitutional."       Hope v. Pelzer, 536 U.S. 730, 741 (2002); see

  also Rainsberger v. Benner, 913 F.3d 640, 652 (7th Cir. 2019)

  ("[T]he relevant question is what a well-trained officer would

  have thought about the lawfulness of that action." (emphasis in

  original)). "[O]fficials can still be on notice that their conduct

  violates established law even in novel factual circumstances."

  Hope, 536 U.S. at 741; see also Taylor v. Riojas, No. 19-1261,

  2020 WL 6385693, at *2 (Nov. 2, 2020) (holding that qualified

  immunity should not be granted when "any reasonable officer should

  have    realized     that    [the    conduct     at   issue]     offended     the

  Constitution"); Safford Unified Sch. Dist. No. 1 v. Redding, 557

  U.S. 364, 377–78 (2009); Brosseau v. Haugen, 543 U.S. 194, 199

  (2004) ("Of course, in an obvious case, these standards can

  'clearly establish' the answer, even without a body of relevant

  case law."); Browder v. City of Albuquerque, 787 F.3d 1076, 1082–

  83 (10th Cir. 2015) ("[T]he more obviously egregious the conduct

  in   light   of    prevailing     constitutional      principles,     the   less




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  specificity is required from prior case law to clearly establish

  the violation." (citations omitted)).

              The Supreme Court has established that cases involving

  materially similar facts are not necessary to a finding that the

  law was clearly established.         Hope, 536 U.S. at 741.       The circuits

  have followed that rule.           See Suboh v. Dist. Att'y's Off. of

  Suffolk Dist., 298 F.3d 81, 94 (1st Cir. 2002); Dean for & on

  behalf of Harkness v. McKinney, 976 F.3d 407, 418 (4th Cir. 2020);

  Cantu v. City of Dothan, 974 F.3d 1217, 1232 (11th Cir. 2020);

  Vinyard v. Wilson, 311 F.3d 1340, 1355 (11th Cir. 2002);               Williams

  v. Strickland, 917 F.3d 763, 770 (4th Cir. 2019); Browder, 787

  F.3d at 1082–83.

              A defendant's adherence to proper police procedure bears

  on all prongs of the qualified immunity analysis.                 Irish I, 849

  F.3d at 527-28.6      When an officer violates the Constitution, state

  law, of course, provides no refuge.              A lack of compliance with

  state law or procedure does not, in and of itself, establish a

  constitutional violation, but when an officer disregards police



        6   Defendants' argument that the violations of proper
  police procedure and state law are "not relevant to the qualified
  immunity analysis" is both incorrect and troubling.           The
  defendants' argument is tantamount to saying that violations of
  state law and proper police procedures have no bearing on whether
  a reasonable officer would know his conduct was unlawful. Such an
  argument is pernicious; the driving principle behind it would
  encourage government officials to short-cut proper procedure and
  established protocols.


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  procedure, it bolsters the plaintiff's argument both that an

  officer's conduct "shocks the conscience" and that "a reasonable

  officer in [the officer's] circumstances would have believed that

  his conduct violated the Constitution." Stamps, 813 F.3d at 32 n.4

  (quoting Jennings v. Jones, 499 F.3d 2, 20 (1st Cir. 2007)); see

  also id.      (collecting cases); Marrero-Rodríguez, 677 F.3d at 502

  (stating      that     defendant's       "violation        of     several    training

  protocols" weighed in favor of plaintiffs' claim); Dean, 976 F.3d

  at 416-17 (relying on officer's violation of training, department

  policy, and state law to hold that a reasonable jury could conclude

  that officer's conduct was conscience shocking).

                The    defendants'      main    argument     is   that   because   this

  circuit    to   date     has    not   recognized     the    state-created     danger

  doctrine, the law was not clearly established.                      That is simply

  incorrect.      The Supreme Court has stated that clearly established

  law can be dictated by controlling authority or a robust consensus

  of persuasive authority.              Wesby, 138 S. Ct. at 589-90; see also

  McCue v. City of Bangor, 838 F.3d 55, 64 (1st Cir. 2016) (stating

  that the agreement of four circuits was sufficient to establish

  threshold for excessive force); Maldonado v. Fontanes, 568 F.3d

  263, 270-71 (1st Cir. 2009) (holding that a consensus of three

  circuits was sufficient to establish that the killing of a pet was

  a   seizure     within    the    meaning      of   the   Fourth    Amendment).   The

  widespread      acceptance       of     the    state-created        danger   theory,


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  described above, was sufficient to clearly establish that a state

  official may incur a duty to protect a plaintiff where the official

  creates or exacerbates a danger to the plaintiff.

              The defendants' reliance on Soto v. Flores, 103 F.3d

  1056 (1st Cir. 1997), is also misplaced.                 In Soto, this court

  concluded that the state-created danger doctrine was not clearly

  established.     Id. at 1065.         The broad acceptance of the doctrine

  "militate[d]     in      favor   of   finding   that   there    [was]    clearly

  established law in this area," but two circumstances prevented the

  court from holding that the law was clearly established.                      Id.

  First, the court noted that at the time of the defendants' conduct

  in Soto, the First Circuit had never "discuss[ed] the contours of

  [the state-created danger] doctrine."              Id.     Second, the court

  relied on the fact that while the Third Circuit had then recently

  "comprehensively described" the state-created danger theory, the

  history of the doctrine was "uneven," and that only "more recent

  judicial opinions . . . ha[d] begun to clarify the contours" of

  the doctrine.      Id.    All of this had changed by the time Detective

  Perkins left the voicemail for Anthony Lord.              By July 2015, this

  court had discussed the state-created danger doctrine at least a

  dozen times, even if it had never found it applicable to the facts

  of a specific case.          And our sister circuits' law developed as

  well in the decades since Soto.




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              The officers argue that because the Fifth and Eleventh

  Circuits have rejected the state-created danger doctrine,7 the

  doctrine cannot be clearly established.             Again, as a proposition

  of law this is wrong.      A circuit split does not foreclose a holding

  that the law was clearly established, as long as the defendants

  could not reasonably believe that we would follow the minority

  approach. See Pro v. Donatucci, 81 F.3d 1283, 1292 (3d Cir. 1996).

  After Rivera, the defendants could not reasonably have believed

  that we would flatly refuse to apply the state-created danger

  doctrine to an appropriate set of facts.

              Rivera was a critical warning bell that officers could

  be held liable under the state-created danger doctrine when their

  affirmative acts enhanced a danger to a witness.               This court did

  not simply dismiss Rivera's claim without analysis, as would have

  been appropriate if the state-created danger doctrine could never

  apply to any set of facts in this circuit.                    Instead, Rivera

  outlined the elements of the state-created danger doctrine and

  performed a nuanced analysis of why each particular action of the



        7   We disagree with the defendants that the Fifth and
  Eleventh Circuits have rejected the state-created danger doctrine.
  Though the Eleventh Circuit no longer has a discrete "state-created
  danger doctrine," it also does not bar recovery in cases like this
  one. See Waddell v. Hendry Cnty. Sheriff's Off., 329 F.3d 1300
  1305-06 (11th Cir. 2003). And the Fifth Circuit has not explicitly
  foreclosed the possibility that it might recognize the doctrine in
  the future. See Doe ex rel. Magee v. Covington Cnty. Sch. Dist. ex
  rel. Keys, 675 F.3d 849, 865-66 (5th Cir. 2012) (en banc).


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  defendants was not the type of affirmative act covered by the

  doctrine.     402 F.3d at 36-38.         Rivera warned that if an officer

  performed a non-essential affirmative act which enhanced a danger,

  a sufficient causal connection existed between that act and the

  plaintiff's      harm,    and    the     officer's     actions    shocked     the

  conscience, the officer could be held liable for placing a witness

  or victim in harm's way during an investigation.

              Defendants also argue that they are immune from suit

  because no factually similar cases alerted them that their conduct

  was impermissible.       This too is incorrect.        As we have just said,

  a general proposition of law may clearly establish the violative

  nature of a defendant's actions, especially when the violation is

  egregious. See Hope, 536 U.S. at 741; Dean, 976 F.3d at 417 ("That

  there is little precedent imposing liability under these specific

  circumstances does not necessarily mean that an officer lacks

  notice that his conduct is unlawful.").              Not only is the argument

  wrong, but its premise is wrong; there are factually similar

  earlier cases.      Both were decided after Soto.

              In 2006, the Ninth Circuit faced a similar case.                   In

  Kennedy v. City of Ridgefield, Kimberly Kennedy reported that her

  thirteen-year-old neighbor, Michael Burns, had molested her nine-

  year-old daughter.        439 F.3d at 1057.          Kennedy told the police

  that Burns was violent and that she was afraid of how Burns would

  respond to the allegations.         Id. at 1057-58.      The police promised


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  to warn Kennedy before contacting Burns.               Id. at 1058.      Instead,

  the    investigating      officer     told     Burns's    mother    about      the

  allegations against her son fifteen minutes before telling Kennedy

  that he had contacted the Burns family.           Id.    The officer promised

  to but did not provide protection that night.              Id. Early the next

  morning, burns broke into Kennedy's house and shot both her and

  her husband while they slept.           Id.    The Ninth Circuit held that

  there was a triable issue of fact as to whether the officer had

  violated Kennedy's substantive due process rights under the state-

  created danger theory. Id. at 1067.            The officer had "created an

  actual, particularized danger Kennedy would not otherwise have

  faced."    Id. at 1063.       Going to the Burns residence prematurely

  and reassuring Kennedy with false promises of increased security

  were acts of deliberate indifference.            Id. at 1064-65.      The Ninth

  Circuit also held that the law was clearly established.                   Id. at

  1066–67.

              Another    factually     similar    case     was   decided    by   the

  Seventh Circuit in 1998.        In Monfils v. Taylor, 165 F.3d 511 (7th

  Cir. 1998), Thomas Monfils tipped off the police that his co-

  workers intended to steal property from their workplace.                  Id. at

  513.    Despite Monfils' pleas to keep the recording of his tip

  secret, the police released the recording to one of his co-workers,

  Keith Kutska.      Id. Monfils had warned the police that Kutska was

  "known to be violent," "crazy," and "a biker type with nothing to


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  lose" and that Monfils "was afraid that . . . [Kutska] would 'take

  him out.'"     Id. at 513-14.      Kutska murdered Monfils shortly after

  the police released the recording.          Id. at 515.     Relying on a Sixth

  Circuit case, Kallstrom v. City of Columbus, 136 F.3d 1055 (6th

  Cir. 1998), in which a city was held liable under the state-created

  danger    doctrine     for    releasing     the   contact     information      of

  undercover police officers, the Seventh Circuit concluded that the

  defendant officer was not entitled to qualified immunity on the

  state-created danger claim.         Monfils, 165 F.3d at 516, 518.

               These cases gave the defendants notice that they could

  be held liable for violating the Due Process Clause if, after

  receiving a report of criminal activity, they effectively alerted

  the suspect that he was under investigation in a manner that

  notified the suspect who the reporting individual was, despite

  knowing that the suspect was likely to become violent toward that

  person.    Monfils, 165 F.3d at 513-18.           The officers were also on

  notice that failing to take steps to mitigate the danger they had

  created and misleading the victim about the level of police

  protection she had could likewise give rise to a constitutional

  violation under the state-created danger doctrine.                Kennedy, 493

  F.3d at 1063-65.

               On this record, a reasonable jury could conclude that as

  much occurred here.          The plaintiffs allege that the defendants,

  even in the face of Irish's expressed fear that Lord would react


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  violently, contacted him in a manner that a reasonable jury could

  find notified him that Irish had reported him to the police.                  The

  plaintiffs also allege that the defendants failed to convey her

  request for protection to their superiors for several hours and

  further failed to inform her in a timely fashion that the request

  had been denied.       A jury could also conclude that the defendants

  played a role in the decision to withdraw all resources from the

  area without telling the plaintiffs that they had done so, thereby

  allowing the plaintiffs to believe more protection was available

  than was actually true.         Finally, the defendants' apparent utter

  disregard    for   police    procedure    could    contribute     to   a   jury's

  conclusion that the defendants conducted themselves in a manner

  that was deliberately indifferent to the danger they knowingly

  created, and that they thereby acted with the requisite mental

  state to fall within the ambit of the many cases holding that a

  violation of the Due Process Clause requires behavior that "shocks

  the conscience."      See, e.g., Kennedy, 439 F.3d at 1064-65; Rivera,

  402 F.3d at 37-38; Coyne, 386 F.3d at 288.             Whether the jury will

  or should conclude as much is, of course, not a question for this

  court, but it was clearly established in July 2015 that such

  conduct on the part of law enforcement officers, if it occurred,

  could give rise to a lawsuit under § 1983.




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                                         VI.

              For the reasons stated above, we reverse the grant of

  summary judgment, affirm the district court's conclusion that a

  jury    could    conclude     that     defendants     violated     plaintiffs'

  substantive due process rights, and remand for further proceedings

  consistent with this opinion.          Costs are award to the appellants.




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